     Case
      Case2:09-cr-00185-JAD-CWH
           2:09-cr-00185-PMP -LRL Document
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 1                     UNITED STATES DISTRICT COURT
 2                          DISTRICT OF NEVADA
 3                                 -oOo-
 4
      UNITED STATES OF AMERICA,                 )   2:09-cr-185-PMP-LRL
 5                                              )
                           Plaintiff,           )
 6                                              )
             vs.                                )
 7                                              )   ORDER WAIVING
                                                )   ATTORNEY CLIENT PRIVILEGE
 8    CARL VON BRADLEY,                         )   TO ADDRESS ALLEGATIONS IN
                                                )   DEFENDANT’S 28 U.S.C. § 2255
 9                         Defendant.           )   PETITION
                                                )   AND
10                                                  ORDERING DEFENDANT’S FORMER
                                                    COUNSEL TO PROVIDE INFORMATION
11
             Based on the pending application of the Government, and good cause appearing,
12
             IT IS THEREFORE ORDERED that the attorney-client privilege in case No. 2:09-cr-
13
      185-PMP-LRL is waived with respect to the allegations in Defendant’s 28 U.S.C. § 2255
14
      petition, and that Rene Valladares shall forthwith provide the Government with an affidavit
15
      addressing the allegations of ineffective assistance in Defendant’s 28 U.S.C. § 2255 petition.
16
             DATED: this
                     this 23rd
                          _____  day
                               day of of ___,2012.
                                      May,    2012.
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19                                                  UNITED STATES DISTRICT JUDGE

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